          Case 1:98-cv-01517-CKK Document 316 Filed 01/25/12 Page 1 of 2



                                  UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA

----------------------------------------------------------------X
JAMAL J. KIFAFI, individually and on behalf of all)
others similarly situated,                        )
                                                  )
                                        Plaintiff,) CONFIDENTIAL-
                     V.                           ) FILED UNDER SEAL
                                                  )
HILTON HOTELS RETIREMENT PLAN,                    ) Case No.: 1:98CV01517 (CKK)
HILTON HOTELS CORPORATION, JAMES M. )
ANDERSON, MATTHEW J. HART, BARRON                 ) Hon. Colleen Kollar-Kotelly
HILTON, DIETER HUCKESTEIN, and SAM D.             )
YOUNG, JR.,                                       )
                                                  )
                                      Defendants.)
                                                               )
----------------------------------------------------------------X
   DEFENDANTS' MOTION FOR A STAY PENDING APPEAL AND REQUEST FOR
                      EXPEDITED TREATMENT

                 Defendants Hilton Hotels Retirement Plan (the "Plan"), Hilton Hotels

Corporation, James M. Anderson, Matthew J. Hart, Barron Hilton, Dieter Huckestein, and Sam

D. Young, Jr. ("Defendants") respectfully submit this motion for a stay pending appeal and

request for expedited treatment. In support of this motion, Defendants submit a Memorandum of

Points and Authorities in Support of Defendants' Motion for a Stay Pending Appeal and Request

for Expedited Treatment, and the Declaration of Andrew M. Lacy in Support of Defendants'

Motion for a Stay Pending Appeal and Request for Expedited Treatment (and the annexed

Declaration of Michael W. Duffy).

                 WHEREFORE, for the reasons contained in the accompanying memorandum of

points and authorities, Defendants respectfully request that the Court:

        1.       Set a December 5, 2012 response date for the instant motion, and a reply date of

December 8, 2012;
         Case 1:98-cv-01517-CKK Document 316 Filed 01/25/12 Page 2 of 2



       2.      Enter an order (1) staying implementation of the Plan amendment approved by the

Court within its November 23, 2011 order [Dkt #280] pending Defendants' appeal to the Circuit

Court of Appeals for the District of Columbia, (2) staying payments of new benefits to current or

newly-vested Plan participants pending Defendants' appeal to the Circuit Court of Appeals for

the District of Columbia, and (3) requiring no bond or, in the alternative, a bond in an amount no

greater than $37.9 million.


Dated: November 28, 2011

                                             Respectfully submitted,


                                             By:    tJ.-L.JI-z '
                                             Thomas C. Rice (admitted pro hac vice)
                                             Jonathan K. Youngwood (admitted pro hac vice)
                                             SIMPSON THACHER & BARTLETT LLP
                                             425 Lexington Avenue
                                             New York, NY 10017
                                             (212) 455-2000

                                             Andrew M. Lacy (D.C. Bar #496644)
                                             SIMPSON THACHER & BARTLETT LLP
                                             1155 F St., N.W.
                                             Washington, D.C. 20004
                                             (202) 636-5500
                                             (202) 636-5502

                                             Attorneys for Defendants Hilton Hotels Retirement
                                             Plan, Hilton Hotels Corporation, James M.
                                             Anderson, Matthew J. Hart, Barron Hilton, Dieter
                                             Huckestein, and Sam D. Young, Jr.




                                                2
